                        Case 3:04-cr-00249-SEC                 Document 275          Filed 05/23/06          Page 1 of 5
 qAO 2458        (Rev.06/05)Judgmentin a CriminalCase
                 SheetI



                                        UNtrBnSrarrs DrsrrucrCounr
                          FORTHE                                 Districtof                             PUERTORICO
           LTNITEDSTATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                              v.
           HERMINIO DIAZ-RJVERA
                                                                       CaseNumber:                      04-cR-249
                                                                                                                (SEC)
                                                                       USM Number:                      02
                                                                       RICARDOPESOUERA
THE DEFENDAIIT:
X pleadedguilty to cormt(s)         ONE on JANUARY 21 2005.
E pleadednolo contendereto count(s,
   which was accepted by the court.

E was found guilty on count(s)
  after a plea ofnot guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section                  Nature of Offense                                                      Off€nse Ended          Count
2 1 : 8 4 1 ( a8)4; 6            Consptacy to possesswith intent to distribute in excessof                  Dec 99               I
                                 150 kilograms of cocaine.
                                 A class'a" felony.




      The defendant is sentenced as provided in pages 2 through                       of this judgment. The sentenceis irnposedpusuant to
the SentencingReform Act of 1984.

! The defendant has been found not guilty on count(s)

X Count(s)                2to6                          n is     X are dismissed
                                                                               on themotionofthe UnitedStates.

         It is orderedthal the defendantmust notifo the United Statesanomey for this disricl within 30 davsofanv chanseofname. residence-
or mailing,address until all fines.restitution..costs.
                                                     6nd specialassessments
                                                                         imbosedby thisjudgment are fully paid.'lfordEred to pay restiturion.
Ine oelenoanImUStnotlry me coun and Unrled Slalesaftomey ot malenal changesm econOmrccucun$lances.

                                                                       05/23/06
                                                                       Date of Inposition of Judgment



                                                                       S/ Salvador F. Casellas
                                                                       SignatureofJudge




                                                                       SALVADORE. CASELLAS,U.S.DISTRICTJUDGE
                                                                       Name and Title ofJudge



                                                                       05/23/06
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            Sheet2 - Impdsonment

                                                                                                      Judgment -   Page     2   of
 DEFENDANT:                    HERMINIO DIAZ.RTVERA
 CASENUMBER:                   04-cR-24e(2XSEC)


                                                               IMPRISONMENT
                    ott"ndantis herebycommittedto thecustodyofthe united statesBureauofprisons
 .^.^, .^_  -3t                                                                               to           be impnsonedlbr a
 rotal telTnot:


                                                       IIINETY-SEVEN (97) MONTHS



      X         The courtmakesthe followingrecommendations  to theBureauofprisons:
                I' That if' the defendant qualifies be incarcerated in a minimal security facility.




      X     The defendant is remanded to the custody ofthe United States Marshal.


      !     The defendant shall surrender to the United States Marshal for this district;

            D       a                             fl    a.m.    !   p.m.        on
            tr       as notified by the United StatesMarshal.

      tr    The defendantshall surrenderfor service of sentenceat the institution designatedby the Bureau
                                                                                                               ofprisons:
            tr       before 2 o-m.

            D        as notified by the United StatesMarshal.

            !        as notified by the Probation or pretrial ServicesOffice.



                                                                    RETURN
I have executedthis judgment as foliows:




           Defendantdelivered

at                                                     with a cerlifiedcopy ofthis judgment.




                                                                                                  UNITED STATFS MARSHAL



                                                                           By
                                                                                               DEPUTYUNITEDSTATESMARSHAL
                          Case 3:04-cr-00249-SEC                  Document 275          Filed 05/23/06        Page 3 of 5
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                                                                                                          Judqmmt-Paee       l
DEFENDANT:                      HERMINIO DIAZ-RTVERA
CASENUMBER:                     04-CR-249(2XSEC)
                                                            SUPERVISEDRELEASE
Upon releasefrom impdsonment,the defendantshall be on supervisedreleasefor a term of:


                                                                   FIVE (5) YEARS


     The 4eferylant mus! report to the probation offrce in the district to which the defendant is released withrn
custody ofthe Bueau ofPrisons.                                                                                    72 hours ofrelease from the

The defendantshall not commit anotherfederal, stateor local crime.
The defendant shall not unlar*{ully possessa controlled substance. The defendant shall reftain fiom any ur awful
                                                                                                                        use of a conholled
substance.
        Thedefendant
                  shallsdbinitto onedrugrestwitrin is dayi"i*t"ii"                     lLiii1-fiir;;;;j   ;e ;ii;"rit    o piii.<iiCir*-gfist,
thereafter,as determinedby the court.

I         The above dmg testing condifion is suspended,based on the court's determination that the defendant poses a low dsk of
          future substanceabuse. (Check, ifapplicable.)

X         The defendantshatl not possessa firearrr! amrnunition,deshuctivedevice, or any other dangerousw€apon. (Check, if applicable.)

X         The defendantshall cooperatein the collection ofDNA as diected by the probation officer. (Check, ifapplicable.)

!         The defendantshall register with the statesex offender registrationagencyin the statewhere the defendantresides.works. or is a
          student,as directedby the probation officer. (Check, ifapplicable.)

f]        The defendantshall participatein an approvedprogram for domesticviolence. (check, if applicable.)

                      u1p9:e!"1,lnS oJ restitution.it is a condirion ofsupervised releasethat rhe defendantpay in accordancewith rhe
"^, ll,t,:j[!g:l!
JCneoule   oI fawnents sheetol thrs ludsment.
                  -r*          .o.pty *i,l lt'e standardconditionsthal havebeenadoptedby this coun as well as wrth any additionalconditions
^- .,I!:1.,ft19g,
on me anacnedpage.

                                              STANDARD CONDITIONS OF SUPERVISION
     1)    the defendantshall not leave the judicial district without the permissionofthe court or probation officer;
     2)                 shall report to the probation officer and shall submit a tmthful and completewritten report within the hrst five days of
           1!e.d9{9nd-,ant
           each month:
     3)    the defendantshall answertruthfully all inquiries by the probation offrcer and follow the instructionsofthe probation officel
     4)    the defendantshall support his or her dependentsand meel other family responsibilities;
     5)    the de.fEnqan!     work regularly at a lawful occupation,unless excusedby the probation offrcer for schooling,training, or other
           acceDutDle   thall
                     reasons:
     6)    the defendantshall notifr the probation offrcer at leastten days pdor to any changeir residenceor emplolment;
     7)    the defendantshallrelrain from excessiveuseofalcohol and shallnot purchase,possess.use,disnibute.or administeranv
           contolled substanceor any paraphemaliarelatedto any controlled sub-stances.
                                                                                    eicept as prescribedby a physicran;
     8)    the defendantshall not frequentplaceswhere contolled substancesare illegally sold, used, dishibuted, or administered;
     9)                           associate wth,any personsengagedinrcrirninalactivity and shall not associarewith any person convicled of a
           tlS-{:.f:4"{
           relony.uruesst!1ll-ngt
                        grantedpernusslonto do so by the probattonollicer;
l0)                               qprotation officer to visit him or her at any time at home or elsewhereand shall permit confiscationof any
           !11.^FlEl,t_qtlO,.*t
           contnband observedrn plain view ofthe probation officer:
I l)       the defendantshall noti$ the probarionofficer within seventy-twohours ofbeing arrestedor questionedby a law enlbrcementoffrcer;
t2l                                           into any agreementto act as an informer or a special agent of a law enforcementagencywithout the
           !!*,.-t4gJi!"!l-lgl
           DerTrusslon  ol rne court: !1,gt
                                      and
l3)        asdirectedby the Probationofficer.thedefendantshallnotify thirdparliesofrisks thatmay be occasioned    by rhedefendant's criminal
           recoro or Personal hrstory or characterlstlcsand shall permjt the probation o{Iicer to make such notificitions and to confirm the
           oelencants comptlancewrth suchnotttlcaltonrequtrement.
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           Sheet3A- Supervised Release

                                                                                  Judgmenr-Page ___l_   of
DEFENDANT:              HERMIMO DL{Z-RTVERA
CASENUMBER:             04-CR-249(2XSEC)

                                 ADDITIONAL SUPERVISEDRELEASE TERMS

1. Thedefendant
             shallnotcommitarotherFederal,
                                        state,or localcrime,andshallobserve
                                                                          thestandard
                                                                                    conditions
of supervised
            releaserecommended
                             by theUnitedStatesSentencing
                                                        Commissionandadoptedby this Court.

2. Thedefendantshallnot unlawfullypossess
                                        controlledsubstances.

3. Thedefendantshallrefrainfrom possessing
                                         firearms,destructive
                                                            devices,andotherdangerous
                                                                                    weapons.

4. Thedefendantshallrefrainfrom the unlawfuluseof controlledsubstances        andsubmitto a drugtestwithin
fifteen(15) daysofrelease;thereafter,
                                    submitto randomdrugtest,not to exceed104samplesperyearin
accordance with the Drug AftercareProgramPolicyof theU.S.ProbationOffice approvedby this Court. If any
suchsamplesdetectsubstance  abuse,thedefendantshallparticipatein a drugtreaftnentprogram(in-patientor
out-patient)in accordance
                        with suchpolicy. Thedefendant     is requiredto contributeto thecostof services
rendered(co-pa1'rnent)basedon the ability to pay or availabilityof third partypa)rynents,
                                                                                       asapprovedby the
court.

5. Thedefendantshallparticipatein ajob placement
                                               programrecommended
                                                                by the U.S.ProbationOfficer.

6. ThedefendantshallprovidetheU.S.ProbationOfficeraccessto anyfinancialinformationuponrequest.

7. Thedefendantshallproduceevidenceto theU.S.ProbationOfficerto the effectthat incometax retumshave
beenduly filed with the Commonwealth
                                   of PuertoRico Departmentof Treasuryaswell asthatchild support
paymentsarebeingmadeto his sonMario L. Diaz,asrequiredby law.

8. The defendantshallsubmithis person,residence,office or vehicleto a search,conductedby a U.S.Probation
Officerat a reasonable
                     time andin a reasonable
                                           manner,baseduponreasonable      suspicionof contraband or
evidenceofa violationofconditionofrelease;failureto submitto a searchmaybe groundsfor revocation;the
defendantshallwam any otherresidentsthatthepremisesmay be subjectto searches    pursuantto this condition.

9. The defendantshallcooperate
                             in the thecollectionofa DNA sampleasdirectedby theU.S.ProbationOfficer,
pursuantto theRevisedDNA CollectionRequirements,   andTitle 18,U.S. Code3563(a)(9).
AO 2458                Case
              (Rev.06/05)      3:04-cr-00249-SEC
                        Judgment in a CriminalCase                Document 275                    Filed 05/23/06      Page 5 of 5
              Sheet5 - CriminalMon€taryPenalties

                                                                                                              Judgment- Page ___l_    of
    DEFENDANT:                      HERMINIO DIAZ-RTVERA
    CASENUMBER:                     04-cR-249(2XSEC)
                                           CRIMINAL                    MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.


                         Assessment                                            Fine                                R€stitution
    TOTALS           $ 100.00                                                $ 0                                 $ 0


    !   The determination ofrestitution is deferred until                    An Amended Judgment in a Criminal Case(AO 245C) will be entered
        after such determination.

!       The defendant rnust make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendantmakesa panial payment.eachpayeeshallreceive an approximatelyproponioned
                                                                                         '$'i6Adi'jii"ili,r.a-.iiiii.jil;fi:i'd;;ili
                                                                                                paymenl,unlessspecifiedotherwisein
        theprioritv
                  orderor oerclntaoepaynentcotunin
                                                 betow.uowever.
                                                             puisirani
                                                                    r;is'tr^s.C.
        bef6rethe-United
                       St6tesis paid.
Name of Payee                                   Total Loss*                            Restitution Order€d                   Prioritv or P€rc€ntase




TOTALS


tr      Restitution amount ordered pusuant to plea agreement $

!       The defendaat must pay interest on restitution and a fine of more than 92,500, unless the restitution or flne is paid in full before the
        fifteenth day after the date ofthe judgrnent, pursuantto lS U.S.C. $ 3612(f). All of the palment options on Sheet6 may be subject
        to penaltiesfor delinquencyand default, pusuant to 18 U.S.C. g 3612(g).

n       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        fl   the interest requirement is waived for the       [       fine    I    restitution.

        E    the interest requirement for the     !    fine       E     restitution is modified as follows:


* Findirlgsfor thetotalamountoflossesare
                                        r€quiredundelChapters109A,I 10,I l0A, andI l3A.ofTitle l8 for offenses
                                                                                                             committed
                                                                                                                     on or after
Septembir13. 1994,but beforeApril 23, 199'6.
